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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) BOARD OF COUNTY COMMISSIONERS
OF LE FLORE COUNTY,
                 Plaintiff,

v.

(1) PURDUE PHARMA L.P.; (2) PURDUE PHARMA
                                                                19-cv-362-KEW
                                                     Case No. ___________
INC.; (3) THE PURDUE FREDERICK COMPANY; (4)
CEPHALON, INC.; (5) TEVA PHARMACEUTICAL
INDUSTRIES, LTD.; (6) TEVA PHARMACEUTICALS           Action Filed: February 25, 2019
USA, INC.; (7) JANSSEN PHARMACEUTICALS, INC.;        Action Served: September 30,
(8) JOHNSON & JOHNSON; (9) ORTHO-MCNEIL-             2019
JANSSEN PHARMACEUTICALS, INC.; (10) JANSSEN
PHARMACEUTICA, INC.; (11) ENDO HEALTH
SOLUTIONS INC.; (12) ENDO PHARMACEUTICALS
INC.; (13) ALLERGAN PLC; (14) ACTAVIS PLC; (15)
ACTAVIS PHARMA, INC.; (16) WATSON
PHARMACEUTICAL, INC.; (17) WATSON PHARMA,
INC.; (18) WATSON LABORATORIES, INC.; (19)
ACTAVIS LLC; (20) MALLINCKRODT PLC; (21)
MALLINCKRODT LLC; (22) INSYS THERAPEUTIC,
INC.; (23) MCKESSON CORP.; (24) CARDINAL
HEALTH, INC.; (25) AMERISOURCEBERGEN DRUG
CORP.; (26) ANDA PHARMACEUTICALS, INC.; (27)
ANDA, INC.; (28) GCP PHARMA, LLC; (29)
KEYSOURCE MEDICAL, INC.; (30) MORRIS &
DICKSON CO, LLC; (31) QUEST
PHARMACEUTICALS, INC.; (32) THE HARVARD
DRUG GROUP, LLC; (33) PHYSICIANS TOTAL CARE,
INC.; (34) CVS HEALTH CORPORATION; (35) CVS
PHARMACY, INC.; (36) OKLAHOMA CVS
PHARMACY, LLC; (37) WALGREENS BOOTS
ALLIANCE, INC. a/k/a WALGREEN CO.; (38) PERRY
FINE, M.D.; and (39) LYNN WEBSTER, M.D.,
                 Defendants.



          DEFENDANTS ENDO HEALTH SOLUTIONS INC. AND
        ENDO PHARMACEUTICALS INC.’S NOTICE OF REMOVAL
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       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, defendants Endo Health Solutions

Inc. and Endo Pharmaceuticals Inc. (collectively, “Endo”) hereby give notice of removal

of this action, captioned Board Of County Commissioners of Le Flore County v. Purdue

Pharma L.P. et al., bearing case number CJ-2019-34, from the District Court of Le Flore

County, Oklahoma, to the United States District Court for the Eastern District of

Oklahoma. Pursuant to 28 U.S.C. § 1446(a), Endo provides the following statement of

the grounds for removal:

                                    INTRODUCTION

       1.     This action is one of thousands of related lawsuits filed against

manufacturers of FDA-approved prescription opioid medications and distributors of

opioid products relating to alleged harms stemming from abuse of opioid medications.

On December 5, 2017, the Judicial Panel on Multidistrict Litigation (“JPML”) created a

Multidistrict Litigation (“MDL”) in the Northern District of Ohio for cases just like this

one, i.e., cases in which plaintiffs allege that “(1) manufacturers of prescription opioid

medications overstated the benefits and downplayed the risks of the use of their opioids

and aggressively marketed . . . these drugs to physicians, and/or (2) distributors failed to

monitor . . . and report suspicious orders of prescription opiates.” In re Nat’l

Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1378 (J.P.M.L. 2017). As the JPML

found in centralizing these cases, “centralization will substantially reduce the risk of

duplicative discovery, minimize the possibility of inconsistent pretrial obligations, and

prevent conflicting rulings on pretrial motions. Centralization will also allow a single

transferee judge to coordinate with numerous cases pending in state courts.” Id. at 1379.


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To date, nearly 2,000 actions have been transferred to the opiate MDL, with more

(including this action) surely to follow.

       2.       A common thread in many opioid-related cases against these same

defendants is plaintiffs tacking on unrelated claims against a rotating cast of non-diverse

defendants—local distributors, doctors, medical centers, and others—in an effort to

destroy diversity jurisdiction. That is the case here. Because none of the national

pharmaceutical manufacturers, distributors, or physicians typically named in opioid-

related cases is a citizen of Oklahoma, Plaintiff tacked on claims against two Oklahoma

distributors.

       3.       Federal jurisdiction cannot be so easily evaded. Under settled precedent,

when (as here) a plaintiff sues diverse defendants and includes materially distinct claims

against one or more non-diverse defendants in an effort to destroy diversity, it is proper

for courts to ignore the citizenship of the non-diverse defendants, sever them, and retain

diversity jurisdiction over the diverse parties.

       4.       Thus, the basis for removal here is materially identical to dozens of

substantially similar opioid-related cases previously removed to federal court and

transferred to the MDL: there is complete diversity of citizenship between the plaintiff,

on the one hand, and the manufacturers and key opinion leader physicians, on the other.

The citizenship of the non-diverse distributors should be ignored because they are subject

to severance under Rule 21 (because they are unnecessary and dispensable parties under

Rule 19 as well as misjoined under Rule 20), and are fraudulently misjoined.




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       5.     As discussed more fully below, there is federal diversity jurisdiction as to

all properly joined Defendants. And, as numerous courts in opioid-related actions have

recognized, judicial economy would be furthered if all removal questions were addressed

by the MDL Court. Indeed, the District Courts for the Northern District of Oklahoma

and the Eastern District of Oklahoma have stayed cases like this one to allow transfer to

the MDL so that the MDL court can consider all Oklahoma remand motions together and

alongside similar remand motions from plaintiffs in other jurisdictions. 1 This Court

should do the same here.



1
  Over the last year, 21 substantially similar suits naming the same core group of
pharmaceutical manufacturers were removed to federal courts in Oklahoma and
subsequently transferred to the opiate MDL. See City of Ponca City v. Purdue Pharma
L.P. et al., No. 5:19-cv-00160-SLP (W.D. Okla.); City of Guthrie v. Purdue Pharma L.P.
et al., No. 5:19-cv-00158-F (W.D. Okla.); City of Edmond v. Purdue Pharma L.P. et al.,
No. 5:19-cv-00149-HE (W.D. Okla.); City of Lawton v. Purdue Pharma L.P. et al., No.
5:19-cv-00078-D (W.D. Okla.); City of Oklahoma City v. Purdue Pharma L.P. et al., No.
5:19-cv-00078-G (W.D. Okla.); Bd. of Cty. Comm’rs. of McClain Cty. v. Purdue Pharma
L.P. et al., No. 5:18-cv-00857-HE (W.D. Okla.); Bd. of Cty. Comm’rs. of Garvin Cty. v.
Purdue Pharma L.P. et al., No. 5:18-cv-00820-HE (W.D. Okla.); City of Yukon v. Purdue
Pharma L.P. et al., No. 5:19-cv-00280 (W.D. Okla.); City of Mustang v. Purdue Pharma
L.P. et al., No. 5:19-cv-00339 (W.D. Okla.); City of Midwest City v. Purdue Pharma L.P.
et al., No. 5:19-cv-00345 (W.D. Okla.); City of Enid v. Purdue Pharma L.P. et al., No.
5:19-cv-00351 (W.D. Okla.); Bd. of Cty. Comm’rs. of Osage Cty. v. Purdue Pharma L.P.
et al., No. 4:18-cv-00461-GKF-JFJ (N.D. Okla.); Bd. of Cty. Comm’rs. of Delaware Cty.
v. Purdue Pharma L.P. et al., No. 4:18-cv-00460-CVE-JFJ (N.D. Okla.); Bd. of Cty.
Comm’rs. of Pawnee Cty. v. Purdue Pharma L.P. et al., No. 4:19-cv-00459-GKF-FHM
(N.D. Okla.); Bd. of Cty. Comm’rs. of Ottawa Cty. v. Purdue Pharma L.P. et al., No.
4:18-cv-00466-TCK-JFJ (N.D. Okla.); Bd. of Cty. Comm’rs. of Tulsa Cty. v. Purdue
Pharma L.P. et al., No. 4:19-cv-00205-GKF-FHM (N.D. Okla.); City of Broken Arrow v.
Purdue Pharma L.P. et al., No. 4:19-cv-00047-JFJ (N.D. Okla.); City of Owasso v.
Purdue Pharma L.P. et al., No. 4:19-cv-00171-GKF-JFJ (N.D. Okla.); City of Ada v.
Purdue Pharma L.P. et al., No. 6:19-cv-00034-SPS (E.D. Okla.); Bd. of Cty. Comm’rs. of
Seminole Cty. v. Purdue Pharma L.P. et al., No. 6:18-cv-00372-JHP (E.D. Okla.); Bd. of
Cty. Comm’rs. of Pittsburg Cty. v. Purdue Pharma L.P. et al., No. 6:19-cv-00100-PRW

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                                    BACKGROUND

      6.     On February 25, 2019, Plaintiff, Le Flore County, filed a Petition in the

District Court of Le Flore County, Oklahoma (the “Complaint” or “Compl.”) against the

following defendants:

             a.     “Manufacturer Defendants” — Endo Pharmaceuticals Inc.; Endo

Health Solutions Inc.; Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick

Company Inc.; Cephalon, Inc.; Teva Pharmaceutical Industries Ltd. (incorrectly named as

“Teva Pharmaceutical Industries, Ltd.” in the Complaint); Teva Pharmaceuticals USA,

Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Allergan plc f/k/a Actavis plc; Allergan Finance,

LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.; Actavis Pharma, Inc.;

Watson Pharma, Inc.; Watson Laboratories, Inc.; Actavis LLC; Mallinckrodt plc;

Mallinckrodt LLC; and Insys Therapeutics, Inc.




(E.D. Okla.). These suits were removed on grounds similar to those raised here—
namely, severance of dispensable and unnecessary parties pursuant to Federal Rule of
Civil Procedure 21 and the doctrine of fraudulent misjoinder. In five of these cases, the
courts recognized the significant efficiencies to be gained by allowing the MDL Court to
uniformly decide similar jurisdictional questions and entered orders staying the cases
pending a final decision on transfer from the JPML. Bd. of Cty. Comm’rs. of Osage Cty.
v. Purdue Pharma L.P., No. 18-CV-461-GKF-JFJ, 2018 WL 5973761 (N.D. Okla. Nov.
14, 2018); Bd. of Cty. Comm’rs. of Pawnee Cty. v. Purdue Pharma L.P., No. 18-CV-459-
GKF-FHM, 2018 WL 5973752 (N.D. Okla. Nov. 14, 2018); Bd. of Cty. Comm’rs. of
Delaware Cty. v. Purdue Pharma L.P., No. 18-CV-0460-CVE-JFJ, 2018 WL 5307623
(N.D. Okla. Oct. 26, 2018); Bd. of Cty. Comm’rs. of Seminole Cty., Oklahoma v. Purdue
Pharma L.P., No. CIV-18-372-JWL, 2019 WL 1474397 (E.D. Okla. Apr. 3, 2019); City
of Ada v. Purdue Pharma L.P. et al., No. 6:19-cv-00034 (E.D. Okla.).

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              b.       “Distributor Defendants” — McKesson Corp.; Cardinal Health,

Inc.; AmerisourceBergen Drug Corp.; Anda Pharmaceuticals, Inc.; Anda, Inc.; GCP

Pharma, LLC (“GCP”); Keysource Medical, Inc.; Morris & Dickson Co, LLC; Quest

Pharmaceuticals, Inc.; The Harvard Drug Group, LLC; Physicians Total Care, Inc

(“PTC”); CVS Health Corporation; CVS Pharmacy, Inc.; Oklahoma CVS Pharmacy,

LLC; and Walgreens Boots Alliance, Inc. a/k/a Walgreen Co..

              c.      “Physician Defendants” —Perry Fine, M.D.; and Lynn Webster,

M.D.

       7.     The thrust of this Complaint—like the others in the MDL—is that the

Manufacturer Defendants and Physician Defendants engaged in a marketing and

promotional campaign that misrepresented the risks and benefits of FDA-approved

prescription opioid medications. (Compl. ¶¶ 5, 81-163.) Specifically, Plaintiff alleges

that the Manufacturer Defendants “embarked upon a campaign of false, deceptive, and

unfair assurances grossly understating and misstating the dangerous addiction risks of the

opioid drugs,” (id. ¶ 127), and enlisted the Physician Defendants, who were “key opinion

leaders” in their field, “to convince both doctors and patients that opioids were safe for

the treatment of chronic pain” (id. ¶ 82). All of the Manufacturer Defendants and

Physician Defendants are citizens of states or foreign states other than Oklahoma. (Id.

¶¶ 14-30, 56-57.)

       8.     Plaintiff’s allegations against the Distributor Defendants center on entirely

different alleged conduct. Plaintiff alleges that the Distributor Defendants failed in their

duty to “detect, investigate, refuse to fill, and report suspicious orders of prescription


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opioids,” (id. ¶ 164), and “negligently or intentionally failed to adequately control their

supply lines to prevent diversion” (id. ¶ 184). Two of the Distributor Defendants—GCP

and PTC—are citizens of Oklahoma. (Id. ¶¶ 41, 51.) The rest are citizens of states

other than Oklahoma. (Id. ¶¶ 31-40, 42-50, 52-55.)

       9.     The Complaint asserts six counts against “all Defendants,” though each

claim rests almost entirely on alleged conduct involving the Manufacturer and Physicians

Defendants, on the one hand, and the Distributor Defendants, on the other: (1) public

nuisance under 50 O.S. § 2; (2) fraud; (3) negligence and negligent misrepresentation; (4)

civil conspiracy; (5) unjust enrichment; and (6) punitive damages. (Compl. ¶¶ 213-253.)

       10.    Endo received the Complaint through service on September 30, 2019.

Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders served on

Endo is attached hereto as Exhibit 1. A copy of the state court docket and papers filed

in the state court action are attached hereto as Exhibits 2-21.

                             VENUE AND JURISDICTION

       11.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 116, 1391, 1441(a),

and 1446(a) because the District Court of Le Flore County, Oklahoma, where the

Complaint was filed, is a state court within the Eastern District of Oklahoma.

       12.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)

because (1) there is complete diversity of citizenship between Plaintiff and all properly

joined defendants; (2) the amount in controversy exceeds $75,000, exclusive of interests

and costs; and (3) all other requirements for removal have been satisfied.




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I.     THERE IS COMPLETE DIVERSITY OF CITIZENSHIP BETWEEN
       PLAINTIFF AND ALL PROPERLY JOINED DEFENDANTS

       13.    There is complete diversity of citizenship here because Plaintiff is an

Oklahoma citizen and all of the Manufacturer and Physician Defendants are citizens of

states or foreign states other than Oklahoma, see infra Part I.A; and the citizenship of the

Distributor Defendants is irrelevant for purposes of diversity jurisdiction, see infra Part

I.B. This is because the Distributor Defendants are severable under Federal Rule of

Civil Procedure 21 and fraudulently misjoined.

       A.     Plaintiff Is Diverse from All Manufacturer and Physician Defendants

              1.     Plaintiff Is a Citizen of Oklahoma

       14.    Plaintiff is an Oklahoma citizen for purposes of diversity jurisdiction. See

Moor v. Alameda Cty., 411 U.S. 693, 721 (1973) (holding that Alameda County is a

California citizen for purposes of diversity jurisdiction); Branch Banking & Trust Co. v.

Bixby Inv’rs, L.P., No. 11-CV-0358-CVE-TLW, 2011 WL 4348212, at *2 (N.D. Okla.

Sept. 16, 2011).

              2.     The Manufacturer and Physician Defendants Are Not
                     Oklahoma Citizens

       15.    For purposes of diversity jurisdiction, a corporation is “a citizen of every

State and foreign state by which it has been incorporated and of the State or foreign state

where it has its principal place of business . . . .” 28 U.S.C. § 1332(c)(1). A partnership

is a citizen of every state in which its partners are citizens. See Americold Realty Tr. v.

Conagra Foods, Inc., 136 S. Ct. 1012, 1015 (2016); Depex Reina 9 P’ship v. Tex. Int’l

Petroleum Corp., 897 F.2d 461, 463 (10th Cir. 1990). A limited liability company is a



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citizen of every state in which its members are citizens. Siloam Springs Hotel, L.L.C. v.

Century Sur. Co., 781 F.3d 1233, 1238 (10th Cir. 2015).

         16.   Applying these principles, none of the Manufacturer or Physician

Defendants is a citizen of Oklahoma.

         17.   Defendant Endo Health Solutions Inc. is a corporation organized under the

laws of Delaware with its principal place of business in Malvern, Pennsylvania. (Compl.

¶ 22.)

         18.   Defendant Endo Pharmaceuticals Inc. is a corporation organized under the

laws of Delaware with its principal place of business in Malvern, Pennsylvania. (Id.)

         19.   Defendant Purdue Pharma L.P. is a limited partnership organized under the

laws of Delaware, none of whose partners are citizens of Oklahoma. Its partners are

citizens of New York, Connecticut, Delaware, Florida, the British Virgin Islands, and

Jersey, Channel Islands. (See id. ¶ 15.)

         20.   Defendant Purdue Pharma Inc. is a corporation organized under the laws of

New York with its principal place of business in Stamford, Connecticut. (Id.)

         21.   Defendant The Purdue Frederick Company Inc. is a corporation organized

under the laws of New York with its principal place of business in Stamford,

Connecticut. (Id.)

         22.   Defendant Cephalon, Inc. is a corporation organized under the laws of

Delaware with its principal place of business in Frazer, Pennsylvania. (Id. ¶ 17.)

         23.   Defendant Teva Pharmaceutical Industries, Ltd is an Israeli corporation

with its principal place of business in Petah Tikva Israel. (Id.)


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       24.    Defendant Teva Pharmaceuticals USA, Inc. is a corporation organized

under the laws of Delaware with its principal place of business in North Wales,

Pennsylvania. (Id.)

       25.    Defendant Janssen Pharmaceuticals, Inc. is a corporation organized under

the laws of Pennsylvania with its principal place of business in Titusville, New Jersey.

(Id. ¶ 20.)

       26.    Defendant Johnson & Johnson is a corporation organized under the laws of

New Jersey with its principal place of business in New Brunswick, New Jersey. (Id.)

       27.    Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc., now known as

Janssen Pharmaceuticals, Inc., is a corporation organized under the laws of Pennsylvania

with its principal place of business in Titusville, New Jersey. (Id.)

       28.    Defendant Janssen Pharmaceutica, Inc., now known as Janssen

Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. (Id.)

       29.    Defendant Allergan plc f/k/a Actavis plc is a public limited company

incorporated in Ireland with its principal place of business in Dublin, Ireland. (Id. ¶ 24.)

       30.    Defendant Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc. is a Nevada limited liability company. Its sole member is Allergan

W.C. Holding Inc. f/k/a Actavis W.C. Holding Inc., a Delaware corporation with its

principal place of business in Madison, New Jersey.




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         31.   Defendant Actavis Pharma, Inc. f/k/a Watson Pharma, Inc. is a corporation

organized under the laws of Delaware with its principal place of business in New Jersey.

(Id.)

         32.   Defendant Watson Laboratories, Inc. is a corporation organized under the

laws of Nevada with its principal place of business in Parsippany, New Jersey.

         33.   Defendant Actavis LLC is a Delaware limited liability company with its

principal place of business in Parsippany, New Jersey. Id. Actavis LLC’s sole member

is Actavis US Holding LLC, a limited liability company organized under the laws of

Delaware. Actavis US Holding LLC’s sole member is Watson Laboratories, Inc., a

corporation organized under the laws of Nevada with its principal place of business in

Parsippany, New Jersey. See id.

         34.   Defendant Mallinckrodt plc is a corporation organized under the laws of

Ireland with its principal place of business in Staines-upon-Thames, United Kingdom.

(Id. ¶ 26.)

         35.   Defendant Mallinckrodt LLC is a limited liability company organized

under the laws of Delaware, none of whose members are citizens of Oklahoma.

Mallinckrodt LLC’s sole member is Mallinckrodt Enterprises LLC. Mallinckrodt

Enterprises LLC’s members are Mallinckrodt Equinox Finance Inc., a Delaware

corporation with its principal place of business in Missouri; Ludlow Corporation, a

Massachusetts corporation with its principal place of business in Missouri; and

Mallinckrodt ARD Finance LLC. Mallinckrodt ARD Finance LLC’s sole member,




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Mallinckrodt Enterprises Holdings, Inc., is a California corporation with its principal

place of business in Missouri.

       36.    Defendant Insys Therapeutics, Inc. is a corporation organized under the

laws of Delaware with its principal place of business in Chandler, Arizona. (Id. ¶ 28.)

       37.    Defendant Perry Fine is a resident of Utah. (Id. ¶ 56.)

       38.    Defendant Lynn Webster is a resident of Utah. (Id. ¶ 57.)

       39.    Accordingly, all of the Manufacturer and Physician Defendants are citizens

of a state or foreign state other than Oklahoma.

       B.     The Citizenship of the Distributor Defendants Should Be Ignored

              1.     The Distributor Defendants Should Be Severed Under Rule 21

       40.    Even where the face of a complaint shows a lack of complete diversity,

removal based on diversity jurisdiction is nonetheless proper if the claims against the

non-diverse defendants are severable under Federal Rule of Civil Procedure 21.

Defendants are severable under Rule 21 if they are either unnecessary or dispensable

under Rule 19, or if the claims against them are sufficiently distinct from claims against

other defendants under Rule 20. Here, the Distributor Defendants should be severed on

both grounds, each of which preserves diversity jurisdiction as to the Manufacturer and

Physician Defendants.2




2
  Though only two Distributor Defendants (GCP and PTC) are non-diverse, the Court
should sever all of the Distributor Defendants because of the common factual allegations
underlying the claims against those Defendants.

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       41.    “[I]t is well-settled that Rule 21 invests district courts with authority to

allow a dispensable nondiverse party to be dropped at any time [to preserve diversity

jurisdiction.]” Lenon v. St. Paul Mercury Ins. Co., 136 F.3d 1365, 1371 (10th Cir. 1998)

(alterations in original) (quoting Newman-Green, Inc. v. Alfonzo-Larrain, 490 U.S. 826,

832 (1989)). Courts in this Circuit thus have held that “[w]hen a non-diverse defendant

threatens to destroy federal jurisdiction in a given case, the court can sever and dismiss

that defendant without necessarily dismissing the entire case.” Brin v. ACI Motor

Freight, Inc., No. 13-cv-02035-RBJ, 2014 WL 1664889, at *2 (D. Colo. Apr. 23, 2014)

(citing Fed. R. Civ. P. 21); Jones v. Masterson, No. 17-cv-00188-RBJ, 2017 WL

2532044, at *2-3 (D. Colo. June 12, 2017) (severing claims against non-diverse,

dispensable defendant, and denying plaintiff’s remand motion as to claims asserted

against diverse defendant).

       42.    Joseph v. Baxter International, Inc., 614 F. Supp. 2d 868 (N.D. Ohio 2009),

is particularly instructive. There, the plaintiffs, citizens of Louisiana, brought a products

liability action against the out-of-state manufacturer of the drug Heparin. Id. at 870.

Before the case was removed, the plaintiffs amended their complaint to add as defendants

various non-diverse healthcare provider companies, alleging that they engaged in

“negligent acts and omissions in the administration of Heparin.” Id. at 871. Despite the

addition of these non-diverse healthcare provider defendants, the district court denied

remand as to the diverse manufacturer defendant.

       43.    The court reasoned that the healthcare provider defendants were “not

necessary parties as the resolution of a claim against them would not necessarily resolve


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the [plaintiffs’] claim against [the manufacturer].” Id. at 872. The medical malpractice

claims against the healthcare providers “differ from the [plaintiffs’] products liability

claim” against the manufacturer. Id. And, the court explained, the healthcare provider

defendants were dispensable because the plaintiffs “retain an adequate remedy against the

Healthcare Defendants as they can proceed with their claims in state court.” Id. at 873.

Given the separate factual basis for plaintiffs’ medical malpractice claims against the

healthcare providers, the court found that it could “sever them from the claims against

[the manufacturer], and in doing so, perfect diversity jurisdiction over [the

manufacturer].” Id. at 874.

       44.    Numerous other courts have followed the same approach. See, e.g.,

Sullivan v. Calvert Mem’l Hosp., 117 F. Supp. 3d 702, 705-07 (D. Md. 2015); Cooke-

Bates v. Bayer Corp., No. 3:10-cv-261, 2010 WL 3984830, at *4 (E.D. Va. Oct. 8, 2010);

Mayfield v. London Women’s Care, PLLC, No. 15-19-DLB, 2015 WL 3440492, at *5

(E.D. Ky. May 28, 2015); DeGidio v. Centocor, Inc., No. 3:09CV721, 2009 WL 1867676,

at *3-4 (N.D. Ohio July 8, 2009); McElroy v. Hamilton Cty. Bd. of Educ., No. 1:12-cv-

297, 2012 WL 12871469, at *2-3 (E.D. Tenn. Dec. 20, 2012).

       45.    Under a straightforward application of Rule 21, this Court should sever the

Distributor Defendants as unnecessary and dispensable to perfect diversity jurisdiction.

Alleged joint tortfeasors like the Distributor Defendants are unnecessary parties as a

matter of settled law. See Temple v. Synthes Corp., 498 U.S. 5, 7-8 (1990) (holding that

joint tortfeasors are not necessary parties under Rule 19); Brin, 2014 WL 1664889, at *4

(“Because Mr. Stiefvater, as a party with potential several liability arising out of this car


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accident, is not a required party under . . . Rule 19 . . . [h]e is dismissed . . . in order to

preserve diversity.”); Multimedia Games, Inc. v. WLGC Acquisition Corp., 214 F. Supp.

2d 1131, 1142 (N.D. Okla. 2001) (“It is a well-settled rule that a joint tortfeasor is not a

necessary party under Rule 19(a) to an action against another party with similar

liability.”).

        46.     Moreover, just like Baxter (and many other cases) in which the plaintiff’s

claims against the diverse defendants and non-diverse defendants were materially

distinct, here Plaintiff’s claims against the Manufacturer and Physician Defendants are

materially distinct from those against the Distributor Defendants. Specifically, Plaintiff

alleges that the Manufacturer and Physician Defendants misrepresented the risks and

benefits of FDA-approved prescription opioid medications in marketing the medications

as part of a coordinated campaign to deceive doctors and patients. (Compl. ¶¶ 5, 81-

163.) By contrast, Plaintiff alleges that the Distributor Defendants failed in their duty to

monitor and report suspicious orders of opioid medications. (Id. ¶¶ 164, 184.) There is

no material overlap between the factual allegations against the Manufacturer and

Physician Defendants, on the one hand, and the Distributor Defendants, on the other

hand, as would make the Distributor Defendants necessary or indispensable under Rule

19. Just like the non-diverse healthcare providers in Baxter, the Distributor Defendants

here are “not necessary . . . as the resolution of a claim against them would not

necessarily resolve the . . . claim[s] against” the diverse Defendants. 614 F. Supp. 2d at

872.




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       47.    Beyond Rule 19, the claims against the Distributor Defendants are also

misjoined under Rule 20, which provides a distinct basis for severance. Rule 21 permits

severance of claims against non-diverse defendants that do not “aris[e] out of the same

transaction, occurrence, or series of transactions or occurrences” as the claims against

diverse defendants. Fed. R. Civ. P. 20(a)(1)(A); see Loeffelbein v. Milberg Weiss

Bershad Hynes & Lerach, LLP, No. Civ.A. 02-2435-CM, 2003 WL 21313957, at *5 (D.

Kan. May 23, 2003) (“Rule 21 is a mechanism for correcting . . . the misjoinder . . . of

parties or claims” which “arises when the claims and parties fail to satisfy any of the

conditions of permissive joinder under Rule 20(a).” (citation omitted)). Courts in this

Circuit and other circuits have repeatedly denied remand as to diverse defendants and

severed claims against non-diverse defendants where the claims against the non-diverse

defendants arose from different transactions or occurrences.3 Because of the distinct

factual underpinnings of the claims against the different sets of defendants here, these

claims cannot properly be joined together.

       48.    Severance is particularly appropriate here because it will enable the diverse

parties to benefit from the significant efficiencies stemming from participation in

coordinated MDL proceedings in the Northern District of Ohio. Courts across the



3
 See, e.g., Loeffelbein, 2003 WL 21313957, at *6; Sutton v. Davol, Inc., 251 F.R.D. 500,
502–05 (E.D. Cal. 2008); Greene v. Wyeth, 344 F. Supp. 2d 674, 683–84 (D. Nev. 2004);
Westley v. Progressive Specialty Ins. Co., No. 14-1410, 2014 WL 4489620, at *6–7 (E.D.
La. Sept. 10, 2014); Anderson v. State Farm Mut. Auto. Ins. Co., No. 4:08CV345-
RH/WCS, 2008 WL 11366408, at *3 (N.D. Fla. Nov. 10, 2008); DirecTV, Inc. v.
Beecher, 296 F. Supp. 2d 937, 945 (S.D. Ind. 2003); Randleel v. Pizza Hut of Am., Inc.,
182 F.R.D. 542, 543 (N.D. Ill. 1998).

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country have repeatedly recognized the importance of these efficiencies in severing non-

diverse defendants to perfect diversity jurisdiction. E.g., Sullivan, 117 F. Supp. 3d at

707 (“Severance is particularly appropriate in this case because it would allow for the

transfer of [plaintiff’s] claims against the [diverse manufacturer] to Multi-District

Litigation.”); Sutton, 251 F.R.D. at 505 (“Plaintiffs’ claims against the [non-diverse]

Defendants are severed and remanded pursuant to Rule 21 . . . so as to preserve the

removing Defendants’ right to removal in the remaining multidistrict action and preserve

the interests of judicial expediency and justice so that all pre-trial discovery on the

products liability case can be coordinated in a single forum.”); Baxter, 614 F. Supp. 2d at

873 (“[P]laintiffs will benefit from the MDL process: they will not bear the burden of

having to engage on their own, and at their sole expense, in discovery vis-à-vis [the

diverse manufacturer].”); Mayfield, 2015 WL 3440492, at *5 (“[I]f the surviving federal

claims are transferred to the Ethicon MDL, the prospect of dual litigation has undeniable

upside.”).

       49.    As one court explained in materially identical circumstances, “[t]he Court’s

decision to sever . . . [the non-diverse healthcare provider] will not greatly prejudice

[plaintiff], but failure to do so could subject [the diverse manufacturer] to considerable

prejudice. [Plaintiff] will be forced to pursue two separate suits, but it will not alone

bear the administrative and financial burdens of pursuing its claim against [the

manufacturer] in the MDL proceedings. For its part, [the manufacturer] could be

exposed to numerous related suits if courts considering suits similar to this one refused to




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sever claims against [the manufacturer] from those against the providers that prescribed

[the drug].” Cooke-Bates, 2010 WL 3984830, at *4 (internal citations omitted).

       50.    That Plaintiff asserts causes of action against “all Defendants” changes

nothing. Severance is appropriate because the factual basis for Plaintiff’s claims against

the Manufacturer and Physician Defendants (alleged misrepresentations in marketing and

promoting opioid medications) is separate and distinct from the factual basis giving rise

to Plaintiff’s claims against the Distributor Defendants (failure to monitor and report

suspicious order of opioid medications). See Loeffelbein, 2003 WL 21313957, at *6

(“While plaintiffs do not distinguish between each of the defendants in the individual

counts of the petition, the counts clearly arise from two different sets of facts.”); Nelson

v. Aim Advisors, Inc., No. 01-CV-0282-MJR, 2002 WL 442189, at *3 (S.D. Ill. Mar. 8,

2002) (“Although Plaintiffs’ claims against all Defendants are pled under the same legal

theory, it is only in this abstract sense that Plaintiffs’ claims share anything in common

. . . [and] does not mean that there are common issues of law and fact sufficient to satisfy

Rule 20(a).”). If Plaintiff wants to pursue claims against the Distributor Defendants,

Plaintiff has an adequate remedy in state court. See Baxter, 614 F. Supp. 2d at 872.

              2.     The Distributor Defendants Are Also Fraudulently Misjoined

       51.    As an alternative to severance under Rule 21, the citizenship of the

Distributor Defendants should be ignored for purposes of diversity jurisdiction under the

fraudulent misjoinder doctrine. Fraudulent misjoinder, sometimes called procedural

misjoinder, “occurs when a plaintiff sues a diverse defendant in state court and joins a

non-diverse or in-state defendant even though the plaintiff has no reasonable procedural


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basis to join such defendants in one action.” Lafalier v. State Farm Fire & Cas. Co.,

391 F. App’x 732, 739 (10th Cir. Aug. 19, 2010) (internal quotation marks and citation

omitted); see also Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353, 1360 (11th Cir.

1996), abrogated on other grounds by Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th

Cir. 2000).

       52.    The Western District of Oklahoma has severed non-diverse defendants

using the doctrine of fraudulent misjoinder where, as here, “there are no questions of law

or fact common to all Defendants that will arise in the action.” Bunnell v. Oklahoma

MH Properties, LP, No. CIV-12-372-R, 2012 WL 12863916, at *1 (W.D. Okla. May 11,

2012) (applying fraudulent misjoinder doctrine to sever non-diverse defendants). As

explained above, Plaintiff’s claims against the Distributor Defendants arise from different

transactions or occurrences than, and are thus misjoined with, the claims against the

Manufacturer and Physician Defendants.

       53.    In opioid-related cases like this one, federal district courts have relied on

the fraudulent misjoinder doctrine to ignore the citizenship of non-diverse physician

defendants and deny remand based on diversity jurisdiction. See Cty. Comm’n of

McDowell Cty. v. McKesson Corp., 263 F. Supp. 3d 639, 647 (S.D. W. Va. 2017); City of

Huntington v. AmerisourceBergen Drug Corp., Civ. A. No. 3:17-01362, 2017 WL

3317300, at *4-5 (S.D. W. Va. Aug. 3, 2017); but see Brooke Cty. Comm’n et al. v.

Purdue Pharma L.P. et al., No. 5:18-cv-00009 (N.D. W. Va.), Doc. 23 (Feb. 23, 2018

Order).




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       54.    Even if the Court finds that the Distributor Defendants are not subject to

severance under Rule 21, it should find the claims against the Distributor Defendants to

be misjoined under the fraudulent misjoinder doctrine.

II.    THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

       55.    “[A] defendant’s notice of removal need include only a plausible allegation

that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee

Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014). “[W]hen a defendant seeks

federal-court adjudication, the defendant’s amount-in-controversy allegation should be

accepted when not contested by the plaintiff or questioned by the court.” Id. at 553. In

determining whether the amount in controversy is satisfied, the Court may consider

compensatory and statutory damages, as well as punitive damages. See Woodmen of

World Life Ins. Soc’y v. Manganaro, 342 F.3d 1213, 1217-18 (10th Cir. 2003).

       56.    Here, Plaintiff asserts that it spends “substantial amounts annually to

provide and pay for a wide range of services to its residents” and “[i]n recent years, more

of those resources have gone to battling the opioid epidemic as a direct result of the

actions of Defendants.” (Compl. ¶ 1.) Plaintiff alleges that it has “suffered actual

injury and economic damages including, but not limited to, significant expenses for

police, emergency, health, prosecution, social services and other services, [and] lost tax

revenue,” as well as “significant costs related to healthcare, undermining the economic

productivity of its residents, and the harming of the long-term health and welfare of the

people of Le Flore County.” (Id. ¶¶ 220, 230.) Plaintiff seeks compensatory damages

for “its actual damages” and “future costs,” as well as punitive damages. (Id. Prayer for


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Relief ¶¶ i-iii.) It is thus clear that the alleged amount in controversy exceeds $75,000,

exclusive of interest and costs.

III.    ALL OTHER REMOVAL REQUIREMENTS ARE SATISFIED

        A.    This Notice of Removal Is Timely

        57.   This Notice of Removal is timely filed. Endo received the Complaint

through service on September 30, 2019. Because Endo filed the Notice of Removal on

October 28, 2019, removal is timely. See 28 U.S.C. § 1446(b)(1).

        B.    All Properly Joined and Served Defendants Consent to Removal

        58.   For purposes of removal based on diversity jurisdiction under 28 U.S.C.

§ 1332(a) and pursuant to 28 U.S.C. § 1446(b), all defendants who have been properly

joined and served must consent to removal.

        59.   The following properly served Defendants consent to removal, as indicated

by their signing below: Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick

Company Inc.;4 Cephalon, Inc.; Watson Laboratories, Inc.; Actavis LLC; Actavis




4
  On September 15, 2019, Purdue and its affiliated debtors filed voluntary bankruptcy
petitions for relief under Chapter 11 of the U.S. Bankruptcy Code in the U.S. Bankruptcy
Court for the Southern District of New York. The case is docketed as In re Purdue
Pharma L.P., No. 19-23649, and is pending before U.S. Bankruptcy Judge Robert D.
Drain. Pursuant to 11 U.S.C. § 362, this filing of the bankruptcy petition operates as a
stay as to Defendants Purdue Pharma L.P. and Purdue Pharma Inc. (the “Purdue
Debtors”). Moreover, on October 11, 2019, Judge Drain issued an Order pursuant to 11
U.S.C. § 105(a), which was amended on October 18, 2019, enjoining the commencement
or continuation of litigation against the Purdue Debtors and certain related parties
(including The Purdue Frederick Company Inc.) through November 6, 2019. To the
extent consent of the Purdue Debtors and The Purdue Frederick Company Inc. is
required, they consent to removal. By consenting to removal, none of the defendants
waive any right or defense and expressly reserve them, including in connection with the

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Pharma, Inc. f/k/a Watson Pharma, Inc.; Johnson & Johnson; Janssen Pharmaceuticals,

Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.;

Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.; and Mallinckrodt LLC.

The Defendants listed in this paragraph expressly reserve, and do not waive, all available

defenses, including lack of personal jurisdiction.

       60.    The following Defendants have not been served or properly served, and

thus their consent to removal is not required: Allergan plc f/k/a Actavis plc;5 Allergan

Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.; Mallinckrodt plc;6

Teva Pharmaceuticals USA, Inc.; Teva Pharmaceutical Industries Ltd.;7. Insys

Therapeutics, Inc.8; Perry Fine, M.D.; and Lynn Webster, M.D. Nevertheless, they




Bankruptcy Court’s stay as well as all rights and defenses in this action, including lack of
personal jurisdiction.
5
  Allergan plc f/k/a Actavis plc, an Irish corporation, and Allergan Finance, LLC f/k/a
Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc. dispute that they have been served, but
nevertheless consent to removal out of an abundance of caution and expressly reserve all
rights and defenses including those related to personal jurisdiction and service of process.
6
  Mallinckrodt plc is an Irish corporation headquartered in the United Kingdom and it is
not subject to personal jurisdiction in the United States. Mallinckrodt plc expressly
reserves all rights and defenses including those related to personal jurisdiction and
service of process.
7
  Teva Pharmaceutical Industries Ltd. (“Teva Ltd”) is a foreign company and it is not
subject to personal jurisdiction in the United States. Teva Ltd. expressly reserves all
defenses, including those related to personal jurisdiction and service of process.
8
  On June 10, 2019, Insys Therapeutics, Inc. and its affiliates each filed a voluntary case
under chapter 11 of United States Bankruptcy Code in the United States Bankruptcy
Court for the District of Delaware, which cases are being jointly administered under Case
No. 19-11292 (KG). Also on June 10, 2019, Insys filed a motion for preliminary
injunction seeking an order staying certain active cases in which Insys had already been
served, to the extent not already stayed by the automatic stay. On July 2, 2019, the
Bankruptcy Court stayed all actions that were the subject of the preliminary injunction
motion, except for actions in which certain plaintiffs resolved the motion with Insys prior

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consent to removal. The Defendants listed in this paragraph expressly reserve, and do

not waive, all available defenses, including lack of personal jurisdiction.

       61.    The Distributor Defendants are not properly joined in this action, and thus

their consent to removal is not required.

       62.    By filing this Notice of Removal, neither Endo nor any other defendant

waives any defense that may be available to them and reserves all such defenses,

including but not limited to lack of personal jurisdiction. If any question arises as to the

propriety of the removal to this Court, Endo requests the opportunity to present a brief

and oral argument in support of its position that this case has been properly removed.

                                     CONCLUSION

       WHEREFORE, Endo hereby removes this action from the District Court of Le

Flore County, Oklahoma, to the United States District Court for the Eastern District of

Oklahoma.



DATED: October 28, 2019                      /s/ Ray E. Zschiesche
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to July 2, 2019. Insys may seek to stay this action through the Bankruptcy Court absent
the dismissal of this action or the entry of a stay in this action. Insys also has not been
served in this case. Nevertheless, to otherwise preserve and without waiving any of
Insys’s rights, and out of an abundance of caution, Insys joins this Notice of Removal.

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                                hac vice admission




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                                Consent to removal on behalf of Defendants
                                PURDUE PHARMA L.P.; PURDUE
                                PHARMA INC.; and THE PURDUE
                                FREDERICK COMPANY INC.:
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                                Consent to removal on behalf of Defendants
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                                MCNEIL-JANSSEN
                                PHARMACEUTICALS, INC. N/K/A
                                JANSSEN PHARMACEUTICALS, INC.;
                                and JANSSEN PHARMACEUTICA, INC.
                                N/K/A JANSSEN PHARMACEUTICALS,
                                INC.:

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                                Consent to removal on behalf of Defendants
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                                CEPHALON, INC.; WATSON
                                LABORATORIES, INC.; ACTAVIS LLC;
                                and ACTAVIS PHARMA, INC. F/K/A
                                WATSON PHARMA, INC.:

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                                Consent to removal on behalf of Defendant
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